         Case 1:15-cv-03085-GLR Document 1 Filed 10/09/15 Page 1 of 11




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

_______________________________
RAQUEL THOMAS                    )
      10822 Will Painter Drive   )
      Owings Mills, MD 21117     )
                                 )
             Plaintiff,          )
                                 )
      vs.                        )
                                 )                   COMPLAINT AND
                                 )                   JURY DEMAND
RAYMOND DORSEY                   )
      5212 Beachmere Terrace     )                   Civil Action No. _____________
      Chester, VA 23831          )
                                 )
BLUEPRINT, LLC                   )
      5212 Beachmere Terrace     )
      Chester, VA 23831          )
                                 )
                                 )
GRAB VISION GROUP, LLC           )
      600 Vine Street Suite 2500 )
      Cincinnati, OH 45202       )
                                 )
             Defendants.         )
______________________________)

                                          COMPLAINT

COMES NOW, Plaintiff, Raquel Thomas (“Ms. Thomas”), brings this complaint in the United

States District Court of Maryland against Raymond Dorsey (“Defendant Dorsey”); Blueprint,

LLC; and Grab Vision Group, LLC; (collectively, “Defendants”) alleging breach of contract,

unjust enrichment, breach of fiduciary duty, civil conspiracy, and violations of other provisions of

Maryland law.
         Case 1:15-cv-03085-GLR Document 1 Filed 10/09/15 Page 2 of 11




                                  JURISDICTION & VENUE

1. This Court has jurisdiction to hear this case in diversity pursuant to 28 U.S. Code § 1332, for

   the reason stated below.

2. Ms. Thomas is now, and was at all times mentioned below, domiciled and a citizen of the State

   of Maryland.

3. Defendant, Raymond Dorsey, now is, and was at all times mentioned below, domiciled and a

   citizen of the Commonwealth of Virginia.

4. Defendant, Blueprint, LLC, now is, and was at all times mentioned below, a limited liability

   company registered in the Commonwealth of Virginia.

5. Defendant, Grab Vision Group, LLC, now is, and was at all times mentioned below, a limited

   liability company registered in the State of Ohio.

6. This is a civil action involving, exclusive of interests and costs, a sum in excess of $75,000.

7. Every issue of law and fact in this action is wholly between citizens of different states.

8. Venue is proper in this District, pursuant to 28 U.S.C.A. § 1391(a) because it is the District in

   which a substantial part of the events or omissions giving rise to the claim occurred and is Ms.

   Thomas’s residence for purposes of 28 U.S.C.A. § 1391(c).


                                        FACTS OF CASE

9. Plaintiff Raquel Thomas is a resident of the State of Maryland residing in Owings Mills,

   Maryland.

10. On information and belief, Defendant Dorsey is a resident of the Commonwealth of Virginia

   and transacts business in several states including the State of Maryland.



                                                 2
         Case 1:15-cv-03085-GLR Document 1 Filed 10/09/15 Page 3 of 11




11. On information and belief, Defendant Blueprint, LLC is a limited liability company registered

   in the Commonwealth of Virginia that transacts business in several states including the State

   of Maryland.

12. On information and belief, Defendant Grab Vision Group, LLC is a limited liability company

   registered in the State of Ohio and transacts business in several states including the State of

   Maryland.

13. Ms. Thomas and Defendant Dorsey have shared a friendship for over 10 years.

                           THE MUSEUM SHOP INVESTMENT

14. Defendant Dorsey has represented to Ms. Thomas that he regularly engages in varied business

   transactions and investment opportunities.

15. Defendant Dorsey has represented to Ms. Thomas that he regularly invests in small businesses.

16. Defendant Dorsey has represented to Ms. Thomas that he regularly operates small businesses.

17. Defendant Dorsey has represented to Ms. Thomas that he and his companies are savvy

   investors with significant business operations expertise.

18. In or around January of 2015, Defendant Dorsey contacted Ms. Thomas to invest in a retail

   opportunity (“The Museum Shop”).

19. Defendant Dorsey, Ms. Thomas, and a third party each agreed to invest $60,000 into The

   Museum Shop, for a total of $180,000 in investment funds.

20. Ms. Thomas tendered $60,000 to Defendant Dorsey as investment funds for the Museum Shop

   retail opportunity.

21. Defendant Dorsey carried the responsibility of safekeeping the investment funds.

22. Defendant Dorsey was responsible for handling the basic entity formation matters.


                                                3
         Case 1:15-cv-03085-GLR Document 1 Filed 10/09/15 Page 4 of 11




23. Defendant Dorsey promised to place the investment funds in a money market account and hold

   it in trust for the business.

24. Defendant Dorsey stated that the initial purpose for offering to hold Ms. Thomas’s money was

   to serve as a fiduciary.

25. Defendant Dorsey stated that the ultimate purpose for offering to hold Ms. Thomas’s money

   was to consolidate the investment funds of Defendant, the third party, and Ms. Thomas so that

   the funds could be contributed to the capital of the business.

26. Ms. Thomas was promised a 33.33% ownership interest in The Museum Shop.

27. Defendant Dorsey promised to only draw money from the investment funds upon need.

28. Defendant Dorsey failed to provide Ms. Thomas with any indicia or other evidence that the

   investment funds are in a money market account.

29. On or around September 15, 2015, Ms. Thomas requested that Defendant Dorsey present

   evidence that the investment funds are in the money market account.

30. As of the date of the filing of this complaint, Defendant Dorsey has failed to provide an

   accounting of the investment funds.

31. As of the date of the filing of this Complaint, Defendant Dorsey has failed to provide Ms.

   Thomas with any evidence that the funds are held in a money market account.

                         GRAB VISION GROUP, LLC INVESTMENT

32. Defendant Dorsey is an owner of Defendant Blueprint, LLC.

33. Defendant Blueprint, LLC is an owner of Defendant Grab Vision Group, LLC.

34. On or around February 1, 2015, Defendants presented Ms. Thomas with an opportunity to

   invest in Grab Vision Group, LLC as a part owner.


                                                4
          Case 1:15-cv-03085-GLR Document 1 Filed 10/09/15 Page 5 of 11




35. Defendants presented Ms. Thomas with a business plan for their Grab Vision Group, LLC

   business.

36. Defendants presented Ms. Thomas with an operating agreement for the Grab Vision Group,

   LLC business.

37. Defendants presented Ms. Thomas with tax filings that demonstrate ownership distribution of

   the company.

38. Defendants represented to Ms. Thomas that Grab Vision Group, LLC is a profitable and

   growing company.

39. Defendants promised Ms. Thomas that, in return for making a $15,000 investment in Grab

   Vision Group, LLC, she is to receive shares in Grab Vision Group, LLC worth $15,000.

40. Defendants required Ms. Thomas to tender a $15,000 check for her investment in Grab Vision

   Group, LLC.

41. Defendants received Ms. Thomas’s $15,000 check for an investment in Grab Vision Group,

   LLC.

42. Defendants failed to provide Ms. Thomas with any membership certificates or other evidence

   of her ownership in Grab Vision Group, LLC.

43. Ms. Thomas has lost opportunities to invest in other businesses due to Defendants’ actions.

44. Ms. Thomas has lost opportunities to reinvest funds into her own company due to Defendants’

   actions.

45. Ms. Thomas used her own funds to finance transportation costs and food costs to help facilitate

   meetings concerning the transactions discussed in this Complaint.




                                                5
         Case 1:15-cv-03085-GLR Document 1 Filed 10/09/15 Page 6 of 11




                            COUNT I. BREACH OF CONTRACT

46. Ms. Thomas reaffirms and realleges paragraphs 1 through 45 hereinabove as if set forth more

   fully hereinbelow.

47. Ms. Thomas and Defendant Dorsey entered into a binding agreement that required a $60,000

   investment from Ms. Thomas.

48. Defendant Dorsey has not fulfilled his obligations under the terms of the agreement.

49. Defendant Dorsey breached the contract when he failed to deposit the investment funds into a

   money market account.

50. Ms. Thomas is entitled to any and all compensatory damages flowing from Defendant Dorsey’s

   breach of contract.


                            COUNT II. BREACH OF CONTRACT

51. Ms. Thomas reaffirms and realleges paragraphs 1 through 45 hereinabove as if set forth more

   fully hereinbelow.

52. Ms. Thomas and Defendants entered into a binding agreement that required a $15,000

   investment from Ms. Thomas.

53. Defendants have not fulfilled their obligations.

54. Defendants breached the contract when they failed to provide Ms. Thomas with evidence of

   her ownership of Grab Vision Group, LLC.

55. Ms. Thomas is entitled to any and all compensatory damages flowing from Defendant’s breach

   of contract.




                                                 6
         Case 1:15-cv-03085-GLR Document 1 Filed 10/09/15 Page 7 of 11




                        COUNT III. BREACH OF FIDUCIARY DUTY

56. Ms. Thomas reaffirms and realleges paragraphs 1 through 45 hereinabove as if set forth more

   fully hereinbelow.

57. Defendant Dorsey was held in a position of trust when he received the $60,000 investment.

58. Defendant Dorsey served as a fiduciary when he received the $60,000 investment.

59. Defendant Dorsey breached his fiduciary duty when he failed to place the investment funds in

   a money market account.

60. Defendant Dorsey breached his fiduciary duty when he failed to provide an accounting of the

   investment funds and expenditures.

61. Ms. Thomas is entitled to any and all compensatory damages flowing from Defendant Dorsey’s

   breach of fiduciary duty.


                        COUNT IV. BREACH OF FIDUCIARY DUTY

62. Ms. Thomas reaffirms and realleges paragraphs 1 through 45 hereinabove as if set forth more

   fully hereinbelow.

63. Defendants were in a position of trust when they received the $15,000 investment.

64. Defendants served as a fiduciary when they received the $15,000 investment.

65. Defendants breached their fiduciary duty when they failed to present Ms. Thomas with

   evidence of ownership in Grab Vision Group, LLC.

66. Ms. Thomas is entitled to any and all compensatory damages flowing from Defendants’

   breach of fiduciary duty.




                                               7
         Case 1:15-cv-03085-GLR Document 1 Filed 10/09/15 Page 8 of 11




                             COUNT V. CIVIL CONSPIRACY

67. Ms. Thomas reaffirms and realleges paragraphs 1 through 45 hereinabove as if set forth more

   fully hereinbelow.

68. Defendants agreed to seek funds from Ms. Thomas under the guise of an investment into

   Grab Vision Group, LLC.

69. Defendants received $15,000 in funds from Ms. Thomas.

70. Defendants failed to provide evidence of Ms. Thomas’s ownership interest in Grab Vision

   Group, LLC.

71. Ms. Thomas is entitled to any and all compensatory damages flowing from Defendants’ civil

   conspiracy.


                           COUNT VI. UNJUST ENRICHMENT

72. Ms. Thomas reaffirms and realleges paragraphs 1 through 45 hereinabove as if set forth more

   fully hereinbelow.

73. Defendants have received investment funds from Ms. Thomas.

74. Defendants have not provided any services to Ms. Thomas.

75. It would be unjust for Defendants to keep the investment funds.

76. Ms. Thomas is entitled to any and all compensatory damages flowing from Defendants’

   unjust enrichment.



                          COUNT VII. CONSTRUCTIVE FRAUD

77. Ms. Thomas reaffirms and realleges paragraphs 1 through 45 hereinabove as if set forth more

   fully hereinbelow.

                                               8
            Case 1:15-cv-03085-GLR Document 1 Filed 10/09/15 Page 9 of 11




78. Defendant Dorsey falsely represented that he would put Ms. Thomas’s $60,000 investment in

   a money market account.

79. Defendant Dorsey made the misrepresentation with reckless indifference as to its truth.

80. Defendant Dorsey’s misrepresentation had a tendency to deceive others.

81. Defendant Dorsey was in a position of trust when he received the $60,000 investment.

82. Defendant Dorsey served as a fiduciary when he received the $60,000 investment.

83. Defendant Dorsey breached his fiduciary duty when he failed to hold Ms. Thomas’s funds in

   trust.

84. Defendant Dorsey breached his fiduciary duty when he failed to place Ms. Thomas’s

   investment funds in a money market account.

85. Ms. Thomas relied on Defendant Dorsey’s misrepresentation when she tendered the $60,000

   investment to Defendant Dorsey.

86. Ms. Thomas had the right to rely on Defendant Dorsey’s misrepresentation.

87. Ms. Thomas suffered the injury of losing the use of her $60,000 investment.

88. Ms. Thomas is entitled to any and all compensatory damages flowing from Defendant Dorsey’s

   fraudulent misrepresentation.



            COUNT VIII. BREACH OF IMPLIED COVENANT OF GOOD FAITH

89. Ms. Thomas reaffirms and realleges paragraphs 1 through 45 hereinabove as if set forth more

   fully hereinbelow.

90. The Agreements between Ms. Thomas and Defendants contained an implied covenant of good

   faith and fair dealing.


                                                9
         Case 1:15-cv-03085-GLR Document 1 Filed 10/09/15 Page 10 of 11




91. Notwithstanding this implied covenant, by failing to keep Ms. Thomas’s investment funds in

   trust, Defendants breached the agreement.

92. Notwithstanding this implied covenant, by failing to place Ms. Thomas’s investment funds in

   a money market account, Defendants breached the agreement.

93. Notwithstanding this implied covenant, by failing to provide Ms. Thomas with indicia of her

   investment in Grab Vision Group, LLC, Defendants breached the agreement.

94. Ms. Thomas has fully performed all of the terms and conditions required of Ms. Thomas,

   except those waived, excused, or prevented by Defendants, and Defendants’ performance has

   not been excused.

95. Such actions by Defendants, among other wrongful conduct, breached the implied covenant of

   good faith and fair dealing.

96. As a direct and proximate result of Defendants’ breach of the implied covenant of good faith

   and fair dealing, Ms. Thomas has suffered compensatory damages and punitive damages in an

   amount to be proven at trial.


                                        RELIEF SOUGHT

Wherefore, having set forth the above described legally sufficient causes of action against the

Defendants, Ms. Thomas prays for the entry of Final Judgment against Defendants jointly and

severally for compensatory and punitive damages in an amount of $150,000, additional damages

not yet quantified but to be proven at trial, such other amounts to be proven at trial, restitution, an

award for costs and attorneys’ fees, and for any other and further relief which the Court deems just

and proper.



                                                  10
         Case 1:15-cv-03085-GLR Document 1 Filed 10/09/15 Page 11 of 11




                                 DEMAND FOR JURY TRIAL

Ms. Thomas demands a trial by jury of all matters so triable as a matter of right.

                                                                          Respectfully Submitted,

                                                                                 /s/
                                                                     Luke A. McQueen, Esquire
                                                                   1220 L Street N.W., Suite 700
                                                                        Washington, D.C. 20005
                                                                            Tel: 202.644.1109
                                                                            Fax: 202.770.3823
                                                                             luke@bahlegal.com
                                                                            Counsel for Plaintiff




                                                11
